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12
                          IN THE UNITED STATES DISTRICT COURT
13                         NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
14
     IN RE GOOGLE RTB CONSUMER                       CASE NO. 4:21-CV-02155-YGR-VKD
15   PRIVACY LITIGATION
16
                                                     PLAINTIFFS’ MOTION FOR
17                                                   RELIEF FROM JULY 10, 2023
     This document applies to all actions.           NON-DISPOSITIVE PRETRIAL
18                                                   ORDER OF MAGISTRATE JUDGE
                                                     (DKT. 543)
19

20                                                   Fed. R. Civ. P. 72(a)
                                                     Civil L.R. 72-2
21

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 1 I.       RELIEF REQUESTED
 2          Pursuant to FED. RULE CIV. P. 72(a), 28 U.S.C. § 636(b)(1)(A), and Civil L.R. 72-2,
 3 plaintiffs move for partial relief from the non-dispositive order issued by Magistrate Judge

 4 DeMarchi on July 10, 2023 at Dkt. 543 (“Order”). Specifically, plaintiffs seek relief from the

 5 portion of the Order denying plaintiffs’ motion to compel Google to produce named plaintiff data

 6 from two bid request data fields that categorize the contents of the website being viewed (content

 7 labels) or app being used (app categories) by the named plaintiffs. These two fields relate to the

 8 named plaintiffs because they describe and categorize what is being viewed by each plaintiff while

 9 browsing or using an app and were in fact transmitted by Google to bid participants in Google

10 RTB auctions for about half of the class period. Nonetheless, as set forth below, the Order denying

11 their production includes opinions that are clearly erroneous and contrary to law, ignores serious

12 potential spoliation issues, and is prejudicial to plaintiffs – both because it prevents discovery on

13 issues directly relevant to the merits and allows Google to avoid potential spoliation sanctions for

14 not maintaining relevant evidence during the pendency of this action. Plaintiffs respectfully request

15 that these erroneous opinions be stricken and the Court either compel Google to produce the two

16 relevant bid request fields or remand to Judge DeMarchi with curative instructions.

17 II.      STANDARD OF REVIEW
18          “The district judge in the case must consider timely objections and modify or set aside any
19 part of the order that is clearly erroneous or is contrary to law.” F ED. R. CIV. P. 72(a). On a non-

20 dispositive order, the district court may set aside a magistrate’s factual determinations as clearly

21 erroneous if it is left with a “conviction that a mistake has been committed.” In re PFA Ins. Mktg.

22 Litig., 2021 WL 5991681, at *1 (N.D. Cal. Nov. 4, 2021) (quoting Perry v. Schwarzenegger, 268

23 F.R.D. 344, 348 (N.D. Cal. 2010)). A decision is contrary to law if it applies an incorrect legal

24 standard or fails to consider an element of that standard.1 Hubbs v. Big Lots Stores, Inc., 2019 WL

25 12536541, at *1 (C.D. Cal. July 1, 2019). Courts review a magistrate’s determination of relevance

26 “with an eye toward the broad standard of relevance in the discovery context.” Id.

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      Courts review mixed questions of law and fact de novo. Ingram v. Pac. Gas & Elec. Co., 2013
     WL 6174487, at *2 (N.D. Cal. Nov. 22, 2013).
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 1 III.      RELEVANT BACKGROUND

 2           On June 5, 2023, plaintiffs moved to compel Google to produce three “bid request” fields.

 3 See Dkts. 536-3 (under seal), 537 (public filing). Bid requests are information that Google shares

 4 with RTB participants in soliciting bids for ad placements on websites and mobile applications

 5 being viewed or used by Google account holders, including the named plaintiffs. The three bid

 6 request fields at issue in the June 5 motion pertain to (1) user lists, (2) content labels, and (3) app

 7 categories.2 Content labels include categories that characterize what the named plaintiff is looking

 8 at on a web page and allow RTB participants to infer information about the named plaintiff based

 9 on the bid requests that the RTB participants receive. Order at 2–3. App categories are similar to

10 content labels but apply to mobile apps being used by the named plaintiffs instead of web pages

11 being viewed. Id. at 4. It is undisputed that Google specifically included content labels and app

12 categories in bid requests sent to RTB participants from at least the start of the class period, June

13 2016 through February 2020, representing about half of the entire class period. Id. at 3–4.

14           For the approximately four-year period Google admits it included the two fields in RTB

15 bid requests (June 2016-February 2020), the Order denies plaintiffs’ motion on two grounds. First,

16 Judge DeMarchi was not persuaded that the fields are within the scope of relevant discovery,

17 stating that it was not clear that the fields “contained any information RTB participants could or

18 did use to infer information about the account holders who visited the website [or used the

19 application].” Order at 3, 4. Second, Judge DeMarchi denies the motion because, according to

20 Google, there is nothing to produce because the data from prior to March 2020 “no longer exists.”

21 Id. at 3–5. As discussed below, both conclusions are clearly erroneous. They also are contrary to

22 the Court’s prior discovery rulings and relevant law, are based on speculation, and misstate the

23 record.

24 IV.       ARGUMENT

25           Plaintiffs move for relief from the portions of the Order denying their motion to compel

26 Google to produce named plaintiff data from two bid request fields on the grounds that the Order

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      As plaintiffs do not challenge the Court’s ruling with respect to the user list field, this motion
     will address only the two fields remaining in dispute, content labels and app categories.
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 1 commits clear error and is contrary to law. See Order at 3–4. Plaintiffs move on two bases: (1) the

 2 Order’s speculative and incorrect conclusion that the two fields are not within the scope of relevant

 3 discovery as defined by the Court in prior rulings; and (2) the Order’s blind acceptance of Google’s

 4 statement that there is nothing to produce as a basis for denying the motion, even though Google

 5 had a business practice and was under a legal obligation to maintain at least some of the responsive

 6 data for at least some portion of the time period at issue.

 7          A.    The Order Is Contrary to Prior Orders on the Scope of Relevant Discovery

 8          Plaintiffs explained the relevance of both fields at issue within the constraints of the 1,500

 9 words permitted by the letter brief process. 3 See Dkt. 536-3 at 1-4. Evidence is relevant if (a) it has

10 any tendency to make a fact more or less probable than it would be without the evidence; and (b)

11 the fact is of consequence. FED. R. EVID. 401. It is relevant to plaintiffs’ preparation for trial that

12 they receive information pertaining to the fields that Google in fact shared with RTB participants

13 relating to the named plaintiffs in sending bid requests for a large part of the class period. See Dkt.

14 563-3. The Order’s application of the applicable relevancy standards is not only contrary to law

15 but also contrary to the Court’s own prior rulings defining the scope of relevant discovery in this

16 action. This was a clearly prejudicial error.

17          The Court previously held that records pertaining to information disclosed or sold to third

18 parties as part of the RTB auction process, and “the records Google maintains about the Named

19 Plaintiffs that identifies (1) the information Google associates with them, including their

20 demographic characteristics, their location, their electronic communications, their devices and

21 device settings, and their web browsing history; (2) the information about them that Google shares

22 with third-party RTB participants; and (3) the revenue Google obtains when it shares their

23 information in the RTB process,” are “within the scope of relevant discovery” in this action. Dkt.

24 184 at 6–7; reaffirmed in Dkt. 287 at 3 (“the Court has already ordered Google to identify all of the

25 account holder information that is disclosed or sold to third parties as part of the RTB process”).

26 Content labels and app categories are plainly within the scope of these Orders (Dkts. 184, 287).

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      The joint letter brief process also precludes submission of any evidence or other supporting
     documents, such as declarations or exhibits.
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 1 Google does not deny that it expressly disclosed these two fields to third parties during at least

 2 half of the class period. Dkt. 536-3, at 6. Nor can it deny that these fields represent information

 3 shared in RTB.

 4          These two fields are also within the scope of two other orders by the Court. See Dkts. 314

 5 at 4-5; 382 at 4–5. In Dkt. 314, the Court ordered Google to “produce documents sufficient to

 6 show, for each named plaintiff, what information specific to that plaintiff was shared with an RTB

 7 participant and the details of such sharing. If Google discloses information that allows an RTB

 8 participant to identify an account holder based on information the participant may have about that

 9 account holder, Google must produce records showing the disclosure of that information as well.”

10 Dkt. 314 at 4 (emphasis in original). In Dkt. 382, the Court ordered Google to “produce documents

11 sufficient to show for each named plaintiff the ‘verticals’ data fields it shared with RTB

12 participants during the class period. In addition, Google must produce documents sufficient to

13 show for each named plaintiff the information, if any, that it provided to RTB participants that

14 would permit those participants to infer information about the account holder based on verticals

15 linked with the account holder.” Dkt. 382 at 5. Content labels and app categories are plainly within

16 the scope of these two Orders. These fields constitute information specific to the named plaintiffs

17 and their communications that were shared by Google in RTB auctions, as well as information

18 provided to RTB participants that would permit those participants to infer information about the

19 named plaintiffs based on the categorization of what websites and apps were being viewed.

20          Finally, the Court also erred when it concluded that it is not clear from the joint letter brief

21 that the two fields “contained any information RTB participants could or did use to infer

22 information about the account holders who visited the website [or used the application].” Order at

23 3, 4. First, plaintiffs did provide this information in the brief. See Dkt. 536-3 at 1–4. Second, the

24 Judge DeMarchi merely speculates about what RTB participants could or did do with the

25 information provided in the two fields, and this speculation provides no basis for the Court’s ruling.

26 Indeed, the facts reveal this speculative conclusion is wrong. Google does not deny that these two

27 fields are contextual information, i.e., information that provides context about what a named

28 plaintiff is looking at, which means context from which an RTB participant can infer things about


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 1 the named plaintiff. Therefore, it was clear error for Judge DeMarchi to conclude that these two

 2 fields are not within the scope of relevant discovery.

 3          B.    The Order Is Based on Misstatements of the Record

 4          The Order also errs in failing to require Google to produce the two fields simply because

 5 Google told the Court that the data for the period in which the fields were included in bid requests

 6 “no longer exists.” Order at 3–4. This case was filed in March 2021, and Google has admitted in

 7 correspondence to plaintiffs’ counsel that it maintains RTB logs—including this data—for at least

 8 540 days as a general business practice. That means the data for these two fields should exist for

 9 at least the 540-day period preceding the filing of the case—i.e., back to September 2019. Google

10 was under a legal obligation to maintain this data for at least the September 2019 through February

11 2020 period during which the two fields were still being shared in RTB bid requests. If, as Google

12 asserts, the data files “no longer exist,” this is potential basis for a spoliation motion and adverse

13 jury instruction, not a get-out-of-jail-free ruling. It was error for the Court to prematurely absolve

14 Google of any potential spoliation finding and highly prejudicial to plaintiffs for the same reason.

15          C.    The Order Is Contrary to Law and Commits Clear Error

16          The Order is contrary to law in its misapplication of the relevancy standard and commits

17 clear error in its determination that the two bid request fields lack relevance. The Order’s

18 relevancy determination should therefore be overturned. See Hubbs, 2019 WL 12536541, at *8.

19 The Order also errs by improperly absolving Google of potential spoliation findings by accepting

20 Google’s representation that the fields “no longer exist” when Google was in fact under a business

21 and legal obligation to maintain the relevant data for at least some of the discovery period.

22 V.       CONCLUSION

23          Plaintiffs will be substantially prejudiced if the challenged portions of the Order stand. This

24 discovery is necessary to their preparation for trial. The Court should vacate the erroneous rulings,

25 and direct Google to promptly produce the two bid request fields at issue for the period in which

26 those fields were included in RTB bid requests. If the data “no longer exists” despite Google’s

27 legal obligation to preserve it, that is not a reason to deny plaintiffs’ motion. The data is relevant

28 and should be ordered produced so that plaintiffs have a record for any potential spoliation remedy.


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 1 DATED: July 24, 2023                           Respectfully submitted,

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